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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN

 ANTOL, DEREK, individually and as
 next friend for DSAII, a minor, DEVON
 S. ANTOL. and TRYSTON ANTOL,

               Plaintiffs,                         Case No. 1:17-cv-613

 v.                                                HON. JANET T. NEFF

 ADAM DENT, KATE STRAUS, CASEY
 BRINGEDAHL, CASEY TRUCKS, and
 PETE KUTCHES,

               Defendants.


____________________________________________________________________

                                   CERTIFICATE OF SERVICE

      Curt A. Benson states he is counsel for Defendants Dent, Strauss, Bringedahl, and
Kutches, in the above entitled cause of action, and on the 31st day of August 2018, he
served Defendants Dent, Strauss, Bringedahl and Kutches’ Motion for Summary
Judgment and Brief in Support of Defendants Dent, Straus, Bringedahl and Kutches’
Motion for Summary Judgment on behalf of above-stated Defendants, via first-class mail,
postage prepaid to:

 J. Nicholas Bostic                                John G. Fedynsky
 909 N. Washington Ave.                            Assistant Attorney General
 Lansing MI 48906                                  Michigan Dept. of Attorney General
                                                   525 W. Ottawa Street
                                                   P.O. Box 30736
                                                   Lansing, MI 48909

             The above information is true to the best of my knowledge, information and belief.


                                        /s/ Curt A. Benson
                                        Curt A. Benson (P38891)




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